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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE: PHILIPS RECALLED CPAP,                  )
 BI-LEVEL PAP, AND MECHANICAL                   )      Master Docket: Misc. No. 21-1230
 VENTILATOR PRODUCTS                            )
 LITIGATION,                                    )      MDL No. 3014
                                                )
 This Document Relates to:                      )
                                                )
 Personal Injury Claimants and Potential        )
 Claimants                                      )

            JOINT MOTION REGARDING APPOINTMENT OF SETTLEMENT
              ADMINISTRATOR, ALLOCATION SPECIAL MASTER, AND
                        SETTLEMENT SPECIAL MASTER

       On May 9, 2024, Plaintiffs’ Negotiating Counsel and the Philips Defendants entered into a

Personal Injury Master Settlement Agreement intended to resolve all personal injury claims of all

Eligible Claimants. In accordance with the Settlement Agreement, the Parties jointly request the

appointment of a Settlement Administrator, Allocation Special Master, and Settlement Special

Master.

       The Parties request that BrownGreer PLC be appointed as Settlement Administrator.

BrownGreer was previously appointed to serve as the online platform for data management in this

MDL, and has extensive experience providing settlement administration and claims resolution

services in large, personal-injury MDLs.

       The Parties request that Mr. Matt Garretson be appointed as Allocation Special Master.

Mr. Garretson has extensive prior professional experience as a Special Master and Administrator

of settlement funds and crisis response programs throughout the country in environmental disaster,

product liability, civil rights, and other cases and has substantial firsthand experience with the

design, oversight and/or administration of hundreds of class action and mass tort resolution

programs.
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       The Parties request that Judge Diane Welsh (ret.), who served as the mediator for this

matter, be appointed as the Settlement Special Master.

       WHEREFORE, for the foregoing reasons, the Parties jointly request the entry of the

attached proposed Order appointing a Settlement Administrator, Allocation Special Master, and

Settlement Special Master.

Respectfully submitted,

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